      Case 3:21-cv-02599-S Document 51 Filed 03/07/23                                    Page 1 of 26 PageID 352




                                   Ι Ή T H E U N I T E D S TAT E S D I S T R I C T C O U R T
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                                   DALLAS DIVISION




            COMMODITY FUTURES
            TRADING COMMISSION,


                         Plaintiff,                                    C a s e N ٥٠ : 3 : 2 1 - ε ν - 2 5 9 9


                         V .                                           Judge Karen Gren Scholer

            COQUEST INC., BUTTONWOOD EEC,
            W E VA P R O P E RT I E S LT D . , D E N N I S
            W E I N M A N N , a n d J O H N VA S S A L L O ,

                         Defendants.




     C O N S E N T O R D E R F O R P E R M A N E N T I N J U N C T I O N , C I V I L M O N E TA R Y P E N A LT Y
           AND OTHER EQUITABLE RELIEF AGAINST COQUEST INC., BUTTONWOOD
           LLC. WEVA PROPERTIES LTD.. DENNIS WEINMANN. AND JOHN VASSALLO ị

                                                         I N T R O D U C T I O N


               On October 20, 2021, Plaintiff Commodity Futures Trading Commission (“Commission'

     01-
           ^CFTC”)      led aComplaint against Defendants Coquest Inc., Buttonwood LLC, Weva

     Properties Ltd., Dennis Weinmann, and John Vassallo (“Defendants”) seeking injunctive and other

     equitable relief, as well as the imposition of civil penalties, for violations of the Commodity

     Exchange Act (“Act”), 7U.S.C. §§ 1-26, and tlie Commission’s Regulations (“'Regulations”)

     promulgated thereunder, 17 C.F.R. pts. 1-190 (2021).

     II.         CONSENTSANDAGREEMENTS


               To effect settlement of all charges alleged in the Complaint against Defendants without a

     trial on the merits or any further judicial proceedings. Defendants:




           ٥ar/ếs)‫م‬y¿‫ليأيةكد‬€0‫ا‬                                        е   е
                                                                                   O/iajra
                                                                                                                /as
fi
           Case 3:21-cv-02599-S Document 51 Filed 03/07/23                            Page 2 of 26 PageID 353




                       Consent to the entry of this Consent Order for Permanent Injunction, Ci٧il Monetary .‫ا‬

          Penalty, and Other Equitable Relief Against Defendants Coquest Inc., Buttonwood LLC, Weva

          Properties Ltd., Dennis Weinmann, and John ٧assallo (“Consent Ordert').

                       2. Af rm tliat they read and agreed to this Consent Order voluntarily, and that no promise‫؛‬

          other than as speci cally contained herein, or threat, has been made by the CFTC or any member.

          of cer, agent, 0!- representative thereof, or by any other person, to induce consent to this Consent

          O r d e r.


                       3. Acknowledge service of tlie summons and Complaint.

                       4. Admit the jurisdiction of this Court over them and the subject matter of this action

          pursuant to Section 6c of the Act, 7U.S.C. §13a-l.

                       5. Admit the jurisdiction of the CFTC over the conduct and transactions at issue In this

          action pursuant to the Act.

                       6. Admit that venue properly lies with this Court pursuant to 7U.S.C. §13a-l(e).

                       7 . Wa i v e :




                                 (a)    Any and all claims that they may possess under the Equal Access to Justice
                                        Act, 5U.S.C. §504 and 28 D.S.C. §2412, and/or the rules promulgated by
                                        the Commission In conformity therewith. Part 148 of the Regulations,
                                        17 C.F.R. pt. 148 (2021), relating to, or arising om, this action;

                                 (b)    Any and all claims that they may possess under the Small Business
                                        Regulatory Enforcement Fairness Act of 1996, Pub. L. No. 104-121, tit. II,
                                        §§ 201-253, 110 Stat. 847, 857-74 (codi ed as amended at 28 U.S.C.
                                        §2412 and in scattered sections of 5U.S.C. and 15 Ư.S.C.), relating to, 01-
                                        arising from, this action;

                                 (c)    Airy claim of Double Jeopardy based upon the institution of this action or
                                        the eirtry in this action of any order hrrposing acivil monetary penalty or
                                        any other relief, including this Consent Order; and

                                 (d)    Any and all rights of appeal from tlris action.




                                                                  2
fi
     fi
            fi
                                           fi
                                                fi
 Case 3:21-cv-02599-S Document 51 Filed 03/07/23                    Page 3 of 26 PageID 354



                                                 pv?
        8. Consent to the                jurisdiction of this Court over them for the purpose of

implementing and enforcing the terms and conditions of this Consent Order and for any other

pu^ose relevant to this action, even If Defendants now or in the future reside outside the

jurisdiction of this Court.

        9. Agree that they will not oppose enforcement of this Consent Order on the ground, if any

exists, that It fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure and hereby

waives any objection based thereon.

        10. Agree that neither they nor any of their agents or employees under their authority

or control shall take any action or make any public statement denying, directly or indirectly, any

allegation in the Complaint or the Findings of Fact or Conclusions of Law In this Consent Order,

or creating or tending to create the impression that the Complaint and/or this Consent Order is

without afactual basis; provided, however, that notliing in this provision shall affect their:

(a) testimonial obligations, or (b) right to take legal positions in other proceedings to which the

CFTC is not aparty. Defendants shall comply with this agreement, and shall undertake all steps

necessary to ensure that all of their agents and/or employees under their authority or control

understand and comply with this agreement.

        11         Consent to the entry of this Consent Order without admitting or denying the

allegations of the Complaint or any      ndings or conclusions in this Consent Order, except as to

jurisdiction and venue, which they admit.

        12,        Consent to the use of the ndings and conclu,sions In this Consent Order in this

proceeding and in any other proceeding brought by the Commission or to which the Commission

is aparty or claimant, and agree that they shall be taken as true and correct and be given preclusive

effect therein, without further proof.




                                                  3
              fi
                       fi
 Case 3:21-cv-02599-S Document 51 Filed 03/07/23                      Page 4 of 26 PageID 355




        13.    Do not consent, however, to the use of this Consent Drder, or the          ndings and

conclusions herein, as the sole basis for any other proceeding brought by the Commission or to

which the Commission is aparty, other than a: proceeding in bankruptcy, or receivership; or

proceeding to enforce the terms of this Order.

        14.    Agree that no provision of this Coirsent Order shall in any way limit or impair the

ability of any other person or entity to seek any legal or equitable re!nedy against them in any other

proceeding.

III.    FINDINGS OF FACT AND CONCLUSIONS OF LAW


        The Court, being fully advised in the premises, nds that thei'e is good cause for the entry

of this Consent Ol'der and that there is no just reason for delay. The Court therefore directs the

entry of the following Findings of Fact, Conclusions of Law, permanent injunction and equitable

relief pursuant to Section 6c of the Act, 7u.s.c. §13a-l, as set forth herein.

T H E PA RT I E S A G R E E A N D T H E C O U RT H E R E B Y F I N D S :


A .     Findings of Fact

        The Parties to tills Consent Order


        15.    Plaintiff Commodity Futures Trading Commission is an independent federal

regulatory agency that is charged by Congress with administering and enforcing the Act and the

Regulations.

        16.    Defendant Coquest Inc. (“Coquest”) is aTexas corporation located in Dallas‫؛‬

Texas. Coquest has been registered with the Commission as an introducing broker (“IB”) since

1990. Coquest has also been registered with the Commission as acommodity trading advisor

(“СТА”) ftom 1990-2012 and ftom 2020 to the present, and as acommodity pool operator from

1990-1994 and from 2010 to the present. Coquest executes block trades in futures and options on




                                                   4
                                fi
                                                        fi
 Case 3:21-cv-02599-S Document 51 Filed 03/07/23                  Page 5 of 26 PageID 356




beha!f of brokerage customers, and Coquest’s Individua! brokers are registered with the

Commission as APs of Coquest.

        17.    Defendant Buttonwood LLC (“Buttonwood”) is aTexas limited liability company

located in Dallas, Texas. Buttonwood has been registered with the Commission as aСТА since

2014. Buttonwood trades commodity futures and options out of asingle account, called the Galaxy

Plus Fund, which solicits funds from customers.

        18.    Defendant Weva Properties Ltd. (“Weva”) is aTexas company located In Dallas‫؛‬

Texas. Weva is not registered with the Commission. Weva trades commodity futures and options

in aproprietary account on behalf of its owners, Dennis Weinmann and Jolm Vassallo.

        19.    Defendant Dennis Weinmann ("Weinmann”) is a50% owner of Coquest, where he

serves as vice president and acts as an AP and block trade broker. Weinmann is also a50% owner

of Buttonwood and Weva, where lie works as acommodities trader. Welnmann has been listed

with the National Futures Association (“NFA") as aprincipal and registered with the Commission

as an AP of Coquest since 1990. Welnmann has been listed as aprincipal with NFA and registered

with the Commission as an AP of Buttonwood since 2014.


        20.    Defendant John Vassallo (“Vassallo”) is a50% owner of Coquest, where he serves

as, among other things, president and compliance of cer, and acts as an AP and block trade broker.

Vassallo is also a50٥/o owner of Buttomvood and Weva. Vassallo has been listed as aprincipal

with NFA and registered with the Commission as an AP of Coquest since 1990. Vassallo has been

listed as aprincipal with NFA and registered with the Commission as an AP of Buttonwood since

2014.




                                                5
                                  fi
 Case 3:21-cv-02599-S Document 51 Filed 03/07/23                    Page 6 of 26 PageID 357




        Coquest’s Block Trade Brokerage Business

       21.      Coquest facilitates block trades for its brokerage customers in futures contracts and

options. Including natural gas futures listed on CME and ICE. Block trades are privately

negotiated transactions involving exchange-listed futures contracts that meet the minimum

quantity threshold determined by the exchange. Block trades are privately negotiated transactions

which are executed by agreement apart and away from the open outcry or electronic markets, and

then reported as executed on an exchange’s trading facility, as permitted under exchange rules.

       22.      Coquest is a“voice broker” that solicits and receives requests ftom its customers to

enter into block trades via phone, voice box, or instant message (“IM”). Coquest then locates

potential counterparties for the requested block trades either from among Coquest’s other

customers or the customers of another voice broker.


       23.      Customers provided Coquest and Its brokers with access to such con dential

information with the understairding and the expectation that the 1!!formation would be used to

arrange block trades with third parties, and would not otherwise be used to the customers’

disadvantage.

       24.      When locating potential counterparties for requested block trades. Coquest brokers

necessarily disclose to other market participants the existence of apotential buyer or seller of a

particular contract, as well as price and quantity information, but they do not disclose the identity

of the customer making the block trade request. Coquest is generally, but not always, paid a

commission for each block trade it executes on behalf of its customers.


       25.      Coquest and its customers understood and agreed that Coquest acted as an agent of

its customers with authority to bind them in transactions involving natural gas futures and other

products, including block trades in natural gas futures contracts listed on CME and ICE.




                                                  6
                                                            fi
           Case 3:21-cv-02599-S Document 51 Filed 03/07/23                                            Page 7 of 26 PageID 358




                 WeJnmann Misappropriated Con dential Customer Information and Unlawfully
                 To o k t h e O t h e r S i d e o f H i s C u s t o m e r s ’ B l o c k T r a d e s


                 26.        Between May 28, 2015, and September 25, 2019, Weinmann, acting as an AP of

          Coquest, received block trade requests from Coquest’s customers for energy futures contracts.

                 27.       During this period, Weinmann also traded in the same futures and options contracts

          for which he was brokering block trades for Coquest’s customers through two accounts he

          controlled. The rst account is managed by Buttonwood, an entity for which Weinmann Is a50٥/o

          owner and the sole trader. Buttonwood trades asingle account, called the Galaxy Plus Fund, on

          behalf of investors. Buttonwood keeps aportion of the trading pro ts from the Galaxy Plus Fund

          as an incentive fee, and also charges amanagement fee to investors.

                 28.       The second account is owned by Weva, another entity for which Weinmann is a

          50% owner and the sole trader. The Weva account is aproprietary trading account, with pro ts

           owing to Welnmann and ٧assallo.

                 29.       On more than two thousand instances between May 28, 2015 and September 25,

          2019, Weinmann received requests from Coquest customers for block trades in various futures or

          options contracts. Instead of locating acounterparty from among Coquest’s other customers or

          the customers of another voice broker, Weinmann executed block trades on behalf of Buttonwood

          or Weva as acounterparty opposite Coquest customers without their customers’ prior consent.

          knowing that the Buttonwood and Weva accounts were taking the other side of the customers'

          block trades.


                 30.        Weinmann did not disclose to Coquest’s customers, either at the time the block

          trades were executed 01- at any other time, that he was taking the other side of their requested block

          trades in accounts that he controlled. In fact, Weinmann sometimes made statements to customers




                                                                           7
fl
     fi
                                   fi
                                                                               fi
                                                                                                              fi
      Case 3:21-cv-02599-S Document 51 Filed 03/07/23                   Page 8 of 26 PageID 359




     indicating that there was some other third party on the other side of the requested block trade who

     was negotiating with the brokerage customer.

            31. By executing block trades between the Buttonwood and Weva accounts and

     Coquest’s customers in this manner, Weininann misappropriated material, nonpublic information

     ftom Coquest customers by trading on the custoluers’ block trade orders in ٧iolation of his duties

     to the customers. Weinmann also created the false impression that he was acting as abroker, not

     apotential block trade counterparty, and led Coquest’s customers to think that the bids and offers

     he provided re ected bids or offers available from other market participants, when in fact those

     bids and offers re ected prices at which Weiniuann was willing to execute ablock trade in the

     Buttonwood or Weva account. Weinmann sometimes reinforced this false impression by charging

     his customers brokerage columissions on the block trades between his customers and the

     Buttonwood or Weva account in the same way as he did for ti'ades he brokered between his

     customers and other market participants.

            32.     Through this scheme, Weinmann was able to obtain for the Buttonwood and Weva

     accounts block trade prices that would not have been available if Weiniuann were openly

     participating as atrader in the block trade market. Weinmann realized trading pro ts for the

     Buttonwood and Weva accounts by personally offsetting the block trade positions he established

     with Coquest’s customers with either other block trades or trades executed on CME'S or- ICE’s

     electronic trading platform.

            33.     Defendants represent that prior to tlie enactment of the Dodd-Frank Wall Street

     Reform and Consumer Protection Act, Pub. L. No. 11.1-203, §929P(b), 124 Stat. 1376, 1864-65

     (2010), Defendants routinely disclosed, as was required by CFTC regulations, when one of theii-

     entities took the other side of acustomer’s block trade. The Defendants represent, however, tliat
fl
      fl
                                                                           fi
 Case 3:21-cv-02599-S Document 51 Filed 03/07/23                    Page 9 of 26 PageID 360




after the Dodd-Frank Act amended the CEA, the Defendants stopped disc!osing when Defendants

were taking the opposite side of customer ord,ers until they were informed in late 2019 that brokers

were still required to make such disclosures under Commission regulations. The Defendants

thereafter represent that they have consistently disclosed to customers when they were acting as

counterparties to their customers’ trades.

       Coquest, Buttonwood, Vassallo, and Welnmann Failed to Supervise

       34.     As aregistered IB, Coquest was obligated under Regulation 166.3, 17 C.F.R.

§166.3 (2021), to diligently supervise the handling of all commodity interest accounts introduced

by Coquest and all other activities of its partners, of cers, employees, and agents.

       35.     As associated persons (“APs”) of Coquest with supervisory duties. Vassallo and

Weinmann also had aduty to diligently supervise. From at least May 28,2015 through September

25, 2019, Coquest, Vassallo, and Weinmann failed to ensure that Coquest had an adequate system

of oversight in place to detect or prevent its brokers or other af liated persons from either taking

the other side of customer block trades in violation of Regulation 155.4, 17 C.F.R. §155.4 (2021),

or misappropriating material, nonpublic information from Coquest’s customers.

       36.     For example. Coquest did not have written policies in place setting forth

Commission and exchange rules regarding the duties of abroker and did not have any rules in

place regarding trading against brokerage customers. Coquest also did not have any procedures in

place to monitor or review the activities of Coquest’s brokers.

       37.     Vassallo, Coquest’s president, principal, and compliance of cer, was generally

aware that Weinmann was trading for the Buttonwood and Weva accounts while also brokering

block trades for Coquest’s customers. But Vassallo did not supervise Weinmann’s brokerage or




                                                        9
                                   fi
                                              fi
                                                   fi
Case 3:21-cv-02599-S Document 51 Filed 03/07/23                     Page 10 of 26 PageID 361




trading activity or take any other steps to determine whether Weininann was trading in the

Buttonwood and Weva accounts in violation of his duties to Coquest’s customers.

       38.        As aregistered СТА, Buttonwood was obligated under 17C.F.R. §166.3 to

diligently supervise the handling of all commodity interest accounts introduced by Coquest and all

other activities of its partners, of cers, employees, and agents.

       39.        As associated persons ("APs”) of Buttonwood with supervisory duties. Vassallo

and Weinmann also had aduty to diligently supervise. From at least May 28, 2015 through

September 25, 2019, Buttonwood, Vassallo, and Weinmann failed to ensure that Buttonwood liad

an adequate system of oversight in place to detect or prevent Weinmann from trading on material.

nonpublic information that he knew had been misappropriated from Coquest’s customers.

       40.        For example. Buttonwood did not have written policies in place setting forth

Commission and exchange rules regarding trading on material, nonpublic information and also did

not have any procedures in place to monitor or review the activities of Buttonwood’s traders.

B .    Conclusions of Law


       J u r i s d i c t i o n a n d Ve n u e


       41.        This Court possesses jurisdiction over this action pursuant to 28 C.S.C. §1331

(codifying federal question jurisdictio!!) and 28 U.S.C. §1345 (providing that U.S. district courts

have original jurisdiction over civil actions commenced by the nited States or by any agency

expressly authorized to sue by Act of Congress). Section 6c(a) of the Act, 7U.S.C. §13a-l(a),

provides that the CFTC may bring actions for injunctive relief or to enforce compliance with the

Act or any rule, regulation, or order thereunder in the proper district court of the nited States

whenever it shall appear to tlie CFTC that any person has engaged, is engaging, or is about to




                                                 10
                  fi
                                                 fl
                                                                    fl
          Case 3:21-cv-02599-S Document 51 Filed 03/07/23                      Page 11 of 26 PageID 362




          engage ‫؛‬n any act or practice constituting aviolation of any provision of tlie Act or any rule‫؛‬

          regulation, or order thereunder.

                    42.   Venue properly lies with tills Court pursuant to 7U.S.C. §13a-l(e), because

          Defendants reside in this jurisdiction and the acts and practices in violation of the Act occurred

          within this District.


                    Fraud by Misappropriation of Material, Nonpublic Information and Failure to
                    Supervise

                    43.   By the conduct described In paragraphs 1through 41 above. Defendants

          Weinmann, and Vassallo knowingly took the other side of customer orders revealed to Coquest or

          any of its af liated persons by reason of the customers’ relationship with Coquest without the

          customers’ pj'ior consent in violation of Regulation 155.4(ь)(2)(1), 17 C.F.R. §155.4(b)(2)(!)

          (2021).

                    44.   By the conduct described in paragraphs 1through 41 above. Defendant Weinmann

          cheated and de auded, or attempted to cheat and defraud, and willfully deceived, or attempted to

          deceive. Coquest’s customers by, in connection with contracts for future delivery and options on

          futures on or subject to the rules of any registered entity: (!) intentionally or recklessly trading on

          the basis of material, nonpublic information in breach of apre-existing duty owed to Coquest

          customers; (11) intentionally or recklessly trading against Coquest customers at prices less

          favorable than he knew or should have known to be available in the market in order to bene t


          Buttonwood and Weva at the Coquest customers’ expense; (ill) intentionally or recklessly

          deceiving or attempting to deceive customers into believing that he was reporting bids and offers

          made by some thii'd party trading counterparty when in fact Weinmann was making the bids or

          offers on behalf of accounts that he traded; and/or (iv) intentionally or recklessly engaging, or

          attempting to engage. In acts, practices, or acourse of business whicli operated or would operate


                                                            11
fi
     fi
                                                                                             fi
Case 3:21-cv-02599-S Document 51 Filed 03/07/23                     Page 12 of 26 PageID 363




as afraud or deceJt upon other persons in vio!atlon of Section 6(c)(1) of the Act, 7U.S.C. §9(1)

and Regulation 180.1(a)(l)-(3), 17 C.F.R. §180.1(a)(l)-(3) (2021).

       45.     By the conduct described in paragraphs 1through 41 above. Defendant Weinmann

cheated or defrauded, or attempted to cheat or defraud, willfully made or caused to be made false

reports and statements to, and willfully deceived, or attempted to deceive. Coquest’s customers In

connection with orders for or on behalf of other persons to make contracts of sale of commodities

for future delivery subject to the rules of adesignated contract market by, in connection with orders

for or on behalf of other persons to make contracts of sale of commodities for future delivery

subject to the rules of adesignated contract market: (!) intentionally or recklessly trading on the

basis of material, nonpublic information in breach of apre-existing duty owed to Coquest

customers; (11) intentionally or recklessly trading against Coquest customers at prices less

favorable than he knew or should have known to be available in the market in order to bene t


Buttonwood and Weva at the Coquest customers’ expense; (ill) intentionally or recklesslj/

deceiving or attempting to deceive customers into believing that he was reporting bids and offers

made by some third party trading counterparty when in fact Weinmann was making the bids or

offers on behalf of accounts that he traded; and/or (iv) intentionally or recklessly cheating.

defrauding, attempting to cheat or defraud, deceiving, and attempting to deceive other persons in

regard to their orders or executions of orders or in regard to the acts of agency performed for the

other persons in violation of Section 4b(a)(l)(A)-(C) of the Act, 7U.S.C. §6b(a)(l)(A)-(C).

       46.     By the conduct described in paragraphs 1through 41 above. Defendants Weinmann

and Vassallo failed to diligently supervise the handling of commodity interest accounts and

activities relating to Coquest and Buttonwood’s business as aCommission registrant by: (!) failing

to establish, implement, and enforce policies or procedures to detect and prevent Weinmann and



                                                 12
                                                                                 fi
     Case 3:21-cv-02599-S Document 51 Filed 03/07/23                     Page 13 of 26 PageID 364




     ٧assa!!o’s misuse of con dential customer Information; (li) failing to review Weinmann’s trading

     on behalf of Buttonwood and Weva to determine whether it con icted with his brokerage services

     he provided to Coquest customers; and (ill) failing to establish, implement, or enforce policies or

     procedures governing its brokers’ handling of customer orders and the protection of con dential

     customer Information in violation of Regulation 166.3, 17 C.F.R. §166.3 (2021).

            47.      The foregoing acts, omissions, and failures of Weinmann and Vassallo occurred within

     the scope of their employment, of ce, or agency with Coquest, Buttonwood, and Weva; therefore‫؛‬

     pursuant to Section 2(a)(1)(B) of the Act, 7U.S.C. §2(a)(1)(B), and Regulation 1.2, 17 C.F.R. §1.2

     (2021), Coquest, Buttonwood, and Weva are liable for Weinmann and Vassallo’s acts, omissions, and

     failures in violation of 7U.S.C. §§9(1) and 6b(a)(l)(A)-(C), and 17 C.F.R. §§ 155.4(Ь)(2)(1)‫؛‬

     180.1(a)(l)-(3), and 166.3.

            48.      tlnless restrained and enjoined by this Court, there is areasonable likelihood that

     Defendants will continue to engage in the acts and practices alleged in the Complaint and in similar

     acts and practices In violation of the Act and Regulations.

     I V.         PERMANENTINJUNCTION


            I T I S H E R E B Y O R D E R E D T H AT:


            49.      Based upon and in connection with the foregoing conduct, pursuant to Section 6c

     of the Act, 7 .s.c. §13a-l, all Defendants are permanently restrained, enjoined and prohibited

     ftom directly or indirectly:

            a .      Knowingly taking the otlier side of any order of another person revealed to an

                     introducing broker or any of its af liated persons by reason of their relationship to

                     such other person, except with such othe!' person’s prior consent in violation of

                     Regulation 155.4(b)(2)(!), 17C.F.R. §155.4(b)(2)(!) (2021).




                                                             13
fl
             fi
                      fi
                           fi
                                                        fl
                                                                                fi
     Case 3:21-cv-02599-S Document 51 Filed 03/07/23                    Page 14 of 26 PageID 365




            50.     Additionally, based upon and in connection with the foregoing conduct, pursuant

     to 7U.S.C. §13a-l, Defendants Coquest, Buttonwood, Weva, and Weinmann are permanently

     restrained, enjoined and prohibited from directly or indirectly:

            a .
                     sing or employing, or attempting to use or employ, in connection with any

                    contract of sale of any commodity for future delivery on or subject to the rules of

                    any registered entity, any manipulative or deceptive device or contrivance in

                    violation of Section 6(c)(1) of the Act, 7U.S.C. §9(1)‫؛‬

            b.      Intentionally or recklessly engaging or attempting to engage in any act, practice, or

                    course of business wlilch operates or would operate as afraud or deceit upon any

                    person in connection with any contract for future delivery on or subject to the rules

                    of any registered entity in violation of Regulation 180.1(a)(l)-(3), 17 C.F.R.

                    §180.1(a)(l)-(3)(2021);

            c
                    Cheating or defrauding, 01- attempting to cheat 01- defraud, willfully making or

                    causing to be made false reports and statements to, and willfully deceiving, or

                    attempting to deceive, other persons in or in connection with any order to make, or

                    the making of, any contract of sale of any commodity for future delivery subject to

                    the rules of adesignated contract market that is made, or to be made, for 01- on

                    behalf of, or with, any other person in violation of Section 4b(a)(l)(A)-(C) of the

                    Act, 7U.S.C. §6b(a)(l)(A)-(C);

            51      Additionally, based upon and in connection with the foregoing conduct, pursuant

     to 7U.S.C. §13a-l, Defendants Coquest, Buttonwood, Weinmann, and Vassallo are permanently

     restrained, enjoined and prohibited from directly or indirectly:




                                                      14
fl
     Case 3:21-cv-02599-S Document 51 Filed 03/07/23                       Page 15 of 26 PageID 366




            a .     Fa!!ỉng to dỉ!‫؛‬gent)y supervise the handling by their partners, of cers, employees‫؛‬

                    and agents of all commodity interest accounts carried, operated, advised, or

                    introduced by these Defendants and all other activities of their partners, of cers.

                    employees, and agents relating to these Defendants’ business as Commission

                    registrants in violation of Regulation 166.3, 17 C.F.R. §166.3 (2021).

            52.     With the exception set forth in subparagraph 5!(h)below, Defendant Weinmann is

     also restrained, enjoined and prohibited for aperiod of six months from directly or indirectly:

            a .     Trading on or subject to the rules of any registered entity (as that term is de ned in

                    Section la(40) of the Act, 7U.S.C. §la(40))‫؛‬

            b.      Entering into any transactions involving “commodity interests” (as that term is

                    de ned in Regulation 1.3, 17 C.F.R. §1.3 (2021)), for his own personal account or

                    for any account in which he has adirect or indirect interest;

            c .     Other than for commodity trading interests traded by Buttonwood, having any

                    commodity interests traded on his behalf;

            d.      Controlling or directing the trading for or on behalf of any other person or entity‫؛‬

                    whetlier by power of attorney or otherwise, in any account involving commodity

                    interests;

            e .     Soliciting, receiving or accepting any orders or funds from any person for the

                    purpose of purchasing or selling any commodity interests, soliciting any

                    discretionary accounts, or supervising any person or persons so engaged;

            f.      Applying for registration or claiming exemption from registration with the

                    Commission in any capacity, and engaging in any activity requiring such




                                                           15
fi
                                                      fi
                                                                 fi
                                                                      fi
          Case 3:21-cv-02599-S Document 51 Filed 03/07/23                          Page 16 of 26 PageID 367




                         registration or exemption from registration with the Commission, except as

                         provided for in Regulation 4.14(a)(9), 17 C.F.R. §4.14(a)(9) (2021); and/or

                         Other than for Defendants Coquest and Buttonwood, acting as aprincipal (as that

                         term is de ned in Regulation 3.1(a), 17 C.F.R. §3.1(a) (2021)), agent or any other

                         of cer or employee of any person (as that term Is de ned in Section la(38) of the

                         Act, 7U.S.C. §la(38)), registered, exempted           om registration or required to be

                         registered with the Commission except as provided for in 17 C.F.R. §4.14(a)(9);

                 h       Notwithstanding the foregoing, throughout the six-month period Defendant

                         Weinmann may assist in the liquidation of pre-existing positions that were held by

                         Buttonwood, LLC at the commencement of the six month period, so long as the

                         liquidation trades are not brokered by Coquest, Inc.

                 53.     In addition to tlie restraints, injunctions and prohibitions in subparagraph 51 above.

          Defendants Coquest and Weinmann are further restrained, enjoined and prohibited from directly

          or indirectly brokering block trades on behalf of any other person for aperiod of two years.

          V .    R E S T I T U T I O N , D I S G O R G E M E N T, A N D C I V I L M O N E T A R Y P E N A L T Y

          A .    Disgorgement

                 54.     Defendants shall pay, jointly and severally, disgorgement in the amount of four

          hundred ninety-six thousand and twenty-one dollars ($496,021) (“Disgorgement Obligation”)‫؛‬

          representing tlie gains received in connection with such violations. The Disgorgement Obligation

          will be offset by the amount paid to the CME Group (or any of its subsidiary exchanges) in

          satisfaction of the disgorgement order in the disciplinary action against the Defendants captioned

          NYMEX 17-0744-BC. Defendants shall provide the CFTC proof of any payment of disgorgement

          to the CME Group (or any of its subsidiary exchanges), including the case name and number in



                                                              16
fi
     fi
                                          fi
                                                  fi
          Case 3:21-cv-02599-S Document 51 Filed 03/07/23                    Page 17 of 26 PageID 368




          connection with which such payment has been !nade, and the amount by which the Disgorgement

          Obligation is to be reduced,, within 10 days of the entry of this Consent Order. If the Disgorgement

          Obligation is not paid in full immediately, then postjudgment Interest shall accrue on the unpaid

          portion of the Disgorgement Obligation beginning on tlie date of entry of this Consent Order and

          shall be determined by using the Treasury Bill rate prevailing on the date of entry of this Consent

          Order pursuant to 28 U.S.C. §1961.

                     55. Defendants shall pay their Disgorgement Obligation and any postjudgment interest

          by electronic funds transfer, U.S. postal money order, certi ed clieck, bank cashier’s check, or

          bank money order. If payment is to be made other than by electronic funds transfer, then the

          payment shall be made payable to tire Commodity Futures Trading Commission and sent to the

          a d d re ss b e l o w :


                           MMAC/ESC/AMK326
                           Commodity Futures Trading Commission
                           6500 s. MacArthur Blvd.
                           HQ Room 266
                           Oklahoma City, OK 73169
                           9-amz-ar-cftc@faa.TOV


          If payment by electronic funds transfer is chosen. Defendants shall contact Tonia King or her

          successor at the address above to receive payment instructions and shall fully comply with those

          instructions. Defendants shall accompany payment of the Disgorgement Obligation with acover

          letter that identi es Defendants and the name and docket number of this proceeding. Defendants

          shall simultaneously transmit copies of the cover letter and the form of payment to the Chief

          Financial Of cer, Commodity Futures Trading Commission, Three Lafayette Centre, 1155 21st

          Street, NW, Washington, D.C. 20581.




                                                           17
fi
     fi
                                                      fi
          Case 3:21-cv-02599-S Document 51 Filed 03/07/23                     Page 18 of 26 PageID 369




          в .      lMonetai^ Penalty‫؛‬v‫؛‬c

                   56.      Defendants shall pay, jointly and severally, acivil monetary penalty in the amount

          of two million ve hundred thousand ($2,500,000) (“CMP Obligation”). The CMP Obligation

          shall be payable as follows: one third of the CMP Obligation ($833,333.33) is due within 30 days

          after the entry of the Consent Order‫ ؛‬and additional third of the CMP Obligation ($833,333.33) is

          due within 60 days after the entry of the Consent Order; and the nal third of the CMP Obligation

          ($833,333.34) is due within 90 days after entry of the Consent Order. If the CMP Obligation Is

          not paid in full immediately within 90 days after the entry of this Consent Order, then post-

          judgment interest shall accrue on tlie unpaid portion of the CM.P Obligation beginning on the date

          of entry of this Consent Order and shall be determined by using the Treasury Bill rate prevailing

          on the date of entry of this Consent Order pursuant to 28 D.$.c. §1961.

                   57.      Defendants shall pay their CMP Obligation and any post-judgment interest, by

          electronic funds transfer, ٧.$. postal money order, certi ed check, bank cashier’s check, or bank

          money order. If payment is to be made other than by electronic funds transfer, then the payment

          shall be made payable to the Commodity Futures Trading Commission and sent to the address

          below:


                         MMAC/E$C/AMK326

                         Commodity Futures Trading Commission
                         6500 $. MacArthur Blvd.
                         HQ Room 266
                         Oklahoma City, OK 73169
                         9-amz-ar-cftc@,faa.gov


          If payment by electronic funds transfer is chosen. Defendants shall contact Tonia King or her

          successor at the address above to receive payment instructions and shall fully comply with those

          instructions. Defendants shall accompany payment of the CMP Obligation with acover letter that

          identi es Defendants and the name and docket number of this proceeding. Defendants shall


                                                            18
fi
     fi
                                                   fi
                                                             fi
     Case 3:21-cv-02599-S Document 51 Filed 03/07/23                     Page 19 of 26 PageID 370




     slmultaneous!y transmit copies of the cover letter and the form of payment to the Cliief Financial

     Of cer, Commodity Futures Trading Commission, Three Lafayette Centre, I15521st Street, NW,

     Washington, D.C. 20581.

              Provisions Related to Monetary Sanctions

              58.      Partial Satisfaction:   Acceptance by the CFTC or the Monitor of any partial

     payment of Defendants Restitution Obligation, Disgorgement Obligation, or CMP Obligation shall

     not be deemed awaiver of their obligation to make further payments pursuant to this Consent

     Order, or awaiver of the CFTC’s I'ight to seek to compel payment of any remaining balance.

     D .      Cooperation

              59.      Defendants shall cooperate fully and expeditiously with the CFTC, including the

     CFTC’s Division of Enforcement, in this action, and in any current or future CFTC investigation

     or action related thereto. Defendants shall also cooperate in any investigation, civil litigation, or

     administrative matter related to, or arising from, this action. As part of such cooperation.

     Defendants Buttonwood and Weinmann agree to:

           A. Within ten days of the entry of tills Consent Order, send the CFTC areport of all positions

              held by Buttonwood, LLC as of the date that this Consent Order is entered;

           B. On amonthly basis during the pendency of the six-month period described in paragrapli

              51, above, provide the CFTC with areport of all trades, including identi cation of the

              trader for each trade, made on behalf of Buttonwood LLC; and

           c. At the conclusion of the six-month period described in paragrapli 51, certify to tlie

              Commission that Weinmann complied with the restrictions described in paragrapli 51,

              above.




                                                       19
fi
                                                                 fi
Case 3:21-cv-02599-S Document 51 Filed 03/07/23                     Page 20 of 26 PageID 371




VI.   MISCELLANEOUS               PROVISIONS


       60.       Unti! such time as Defendants satisfy in full their CMP and disgorgement

obligations under this Consent Order, upon the commencement by or against Defendants of

insolvency, receivership or bankruptcy proceedings or any other proceedings for the settlement of

Defendants’ debts, all notices to creditors required to be furnished to the Commission under Title

11 of the United States Code or other applicable law with respect to such insolvency, receivership

bankruptcy or other proceedings, shall be sent to the address below:

       Secretary of the Commission
       Legal Division
       Commodity Futures Trading Commission
       Three Lafayette Centre
           I155 21st StreetN.W.

       Washington, DC 20581

       61.       Notice: All notices required to be given by any provision in this Consent Order,

except as set forth in paragraph 59, above, shall be sent certi ed mail, return receipt requested, as

follows:


Notice to CFTC:


       Robert Howell

       Deputy Director
       77 wJackson Blvd‫ ؛‬Suite 800
       Chicago, IL 60604

Notice to Defendants:

       Aitan Goelman

       Zuckerman Spaeder LLP
           1800 MStreet, NW, Suite 1000
       Washington, DC 20036
       agoelman@zuckerman.com

All such notices to the CFTC shall reference the name and docket number of this action.




                                                 20
                                            fi
Case 3:21-cv-02599-S Document 51 Filed 03/07/23                          Page 21 of 26 PageID 372




        62.    Change of Address/Phone: Until such time as Defendants satisfy in full theii-

Restitution Obligation, Disgorgement Obligation, and CMP Obligation as set forth in this Consent

Order, Defendants shall provide written notice to the Commission by certi ed mail of any change

to their telephone number and mailing address within ten calendar days of the change.

        63.    Entire Agreement and Amendments: This Consent Order incorporates all of the

terms and conditions of the settlement among the parties hereto to date. Nothing shall serve to

amend or modify this Consent Order i!i any respect whatsoever, unless: (a) reduced to writing‫؛‬

(b) signed by all parties hereto; and (c) approved by order of this Court.

        64.    Invalidation: .If any provision of tills Consent Order or if the application of any

provision or circumstance is held invalid, then tlie remainder of this Consent Order and the

application of the provision to any other person or circumstance shall not be affected by the

liolding.

        65.    Waiver: The failure of any party to tills Consent Order at any time to require

performance of any provision of this Consent Order shall in no manner affect the right of the party

at alater time to enforce the same or any other provision of this Consent Order. No waiver in one

or more instances of the breach of any provision contained in this Consent Order shall be deemed

to be or consti'ued as afurther or continuing waiver of such breach 01- waiver of the breach of any

other provision of this Consent Order.

        66.    Conti-g Jurlsdictl^           is Court: Tills         ^Irt shall ret^^^^sdỉction of>١s

action to ^ur^complianc^^ith this Consent              r a n d f o r a l l‫؛‬   e r p u r p o s e s n‫؛‬   to tills


action, loading ầ       Dtion by De^^^o modify or foV٠٠řélief from tl                      fts of this Consul


Ord^




                                                 21
                                                           fi
Case 3:21-cv-02599-S Document 51 Filed 03/07/23                     Page 22 of 26 PageID 373




       67.        Injunctive and Equitable Relief Provisions: The injunctive and equitable relief

provisions of this Consent Order shall be binding upon the following persons who receive actual

notice of this Consent Order, by personal service or otherwise: (1) Defendants; (2) any of cer.

agent, servant, employee, or attorney of the Defendants; and (3) any other persons who are in

active concert or participation with any persons described in subsections (!) and (2) above.

       68.        Authority: .lohn Vassallo hereby warrants that he is Partner at Coquest Inc.,

Buttonwood EEC, and Weva Properties Ltd., and that this Consent Order has been duly authorized

by Coquest Inc., Buttonwood EEC, and Weva Properties Ltd. and he has been duly empowered to

sign and submit this Consent Order on behalf of Coquest Inc., Buttonwood EEC, and Weva

Properties Ltd.

       69.        Coirnterparts and Facsimile Execution: This Consent Order may be executed In

two or more counterparts, all of which shall be considered one and the same agreement and shall

become effective when one or more counterparts have been signed by each of the parties hereto

and delivered (by facsimile, e-mail, or otherwise) to the other party, it being rrnderstood that all

parties need not sign the same counterpart. Any counterpart or other signature to this Consent

Order that is delivered by any means shall be deemed for all purposes as constituting good and

valid execution and delivery by such party of this Consent Order.

       70.        Contempt: Defendants understand that the terms of the Consent Order, except

with respect to disgorgement or restitution, are enforceable through contempt proceedings, and

that, in any such proceedings they may not challenge the validity of this Consent Order.

       71.        Agreements and Undertakings:        Defendants shall comply with all of the

undertakings and agreements set forth in this Consent Order.




                                                 22
                                                                             fi
Case 3:21-cv-02599-S Document 51 Filed 03/07/23                                                         Page 23 of 26 PageID 374




            There being no just reason for delay, the Clerk of the Court is hereby ordered to enter this

Consent Order ƒor Perianent Irjlunction, CiYil Monetary Penalty, and Other Equitable Relleí'

Against Coquest Inc., Buttonwood LLC, Weva Properties Ltd., Dennis Welnmann, and John

Va s s a l l o f o r t h w i t h a n d w i t h o u t f u r t h e r n o t i c e .




IT IS so ORDERED on this                              ‫الة‬٠‫دآلأ‬                                                       2023.


                                                                                                             ‫ص ـ ـ ـ ـ ـ ـ ـ ـ ــدد‬
                                                                                   N I T E D S TAT E S D I S T R I C T J U D G E




                                                                                   23
 Case 3:21-cv-02599-S Document 51 Filed 03/07/23       Page 24 of 26 PageID 375

CONSENTED TO AND APPROVED BY:



Jolin Vissailo                        Douglas G. Snodgrass
Martner af Caquest tne.               Nina Ruvinsky
                                      David A. Terrell
Date     -

                                      Altomeys for


             Vere
 ol wn Vassallo
                                      Commodity Putures Trading Commission
                                      525 W. Monroe Street, Suite 1100
                                      Clucazo, IL 6066)
 artner of Buctonwood          LLC    Telephone: (312) 596-0700
                                      Facsimile: (3)2) 59-00714
                                      E-mail:      dsnodgniss@écfic.zov
Date:
                                                 nruvinsky@cfic.pov
                                                 dterrell@ctic.yov

                                      Date
Jo n         5

 tattuer of Wen Properties Ltd.

pae:     1-50 +2023

Dennis Weinmann, individually

Date:                  z   »




        Vassallo, individually

7"
 ate:
         /~ 30
                       -ZO2S
Approved as to form:


Aiton (Goelman
Mark     .   Feaster
                           4
Altomey's for all Defendants
Zuckerman Spacder LLP
1800 M street, NW, Suite 1000




                                     24
                                                                             BSt44A2
Case 3:21-cv-02599-S Document 51 Filed 03/07/23   Page 25 of 26 PageID 376



Washington, DC 20036
Telephone: (202) 778-1800
E-mail:     agoelman@zuckerman.com
            mfeaster@zuckerman.com




                                     25
  Case 3:21-cv-02599-S Document 51 Filed 03/07/23     Page 26 of 26 PageID 377


CONSENTED TO AND APPROVED BY:


                                                          l��c__------
                                              \           '(1

                                         ',   j      �/
John Vassallo                         DouglasG.n�dgrass
Partner of Coquest Inc.               Nina Ruvinsky
                                      David A. Terrell
Date:
                                      Attorneys for
                                      Commodity Futures Trading Commission
                                      77 W. Jackson Blvd. Suite 800
                                      Chicago, IL 60604
John Vassallo
                                      Telephone: (312) 596-0700
Partner of Buttonwood LLC
                                      Facsimile: (312) 596-0714
                                      E-mail:      dsnodgrass@cftc.gov
Date: --------
                                                   nruvinsky@cftc.gov
                                                   dterrell@cftc.gov

John Vassallo
                                                  .3/;L/
                                                µ)d-3
                                      Date ----�--�---
Partner of Weva Properties Ltd.

Date: --------



Dennis Weinmann, individually

Date: --------



John Vassallo, individually

Date: --------


Approved as to form:


Aitan Goelman
Mark J. Feaster

Attorneys for all Defendants
Zuckerman Spaeder LLP
1800 M Street, NW, Suite 1000



                                    24
